           Case 2:07-cr-02018-SMJ                     ECF No. 425              filed 08/22/16           PageID.2050 Page 1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT                                                                    FILED IN THE
                                                                                                                                  U.S. DISTRICT COURT
                                                                                                                            EASTERN DISTRICT OF WASHINGTON
                                                                        for the
                                                       Eastern District
                                                      __________        of Washington
                                                                  District of __________                                     Aug 22, 2016
                                                                                                                                  SEAN F. MCAVOY, CLERK
                    United States of America
                               v.                                          )
                    ERNESTO V. PERALES                                     )
                                                                           )    Case No: CR-07-2018-2
                                                                           )    USM No: 12242-085
Date of Original Judgment:                            03/13/2018           )
Date of Previous Amended Judgment:                                         )    Andrea K. George
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   03/13/2018              months is reduced to 150                                  .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          03/13/2018              shall remain in effect.
IT IS SO ORDERED.

Order Date:                  08/22/2016
                                                                                                         JJudge’s
                                                                                                            d ’ signature
                                                                                                                  i  t


Effective Date:                                                     The Honorable Fred L. Van Sickle                    Senior Judge, U.S. District Court
                     (if different from order date)                                                    Printed name and title
